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                                         UNITED STATESDISTRIC'            FCO                              iLEDBY       D.
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                                               Southern DistrictofFlorida
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                         .                                                                                           ANGELA e.NOBLE
                     United StatesofAmerica                                                                         cuunKtjs.rjs.
                                                                                                                                rcT,
                                    V.
                                                                                                                 s.D.oFFLX.-FLLAUD.
                  PhillipAnthony Jackson and                            CaseNo.
                         Richard Burke,                                                21-mF6184-STRAUSS




                                                  CR IM INA L C O M PLM N T
             1,thecomplainanti1zthiscastt, statethatthefollowing istruetothebestofmy know ledgeand belief
                                                                                                                               .

     Onoraboutthedatets)of               2/16/2021through2/25/2Q21,
                                                          .           in thecounty of                      Broward                 in the
         Sotdh:rn        Districtof            Floridp-
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                                                              hedefèndantts)violated;
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             Cocles'cc/ft/a                                            OffenseDto' crl
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     18U.S.C.jâ1951(a)and2                      HobbsActrobbeq/
     18U.S.C.jâ924(c)(1)(A)(ii)and2             Brandi
                                                     shi
                                                       ngafirearm duringacrimeofviolence




            Thiscrim inalcolnplaintisbased on thescfacts'
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    See attached Affidavi
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                                                                                    Ryan Dreibelbis,FBlSpecialAgent
                                                                                          JR!-
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    Attestcd to by the applicantin accortlanccwith the requircmentsof
    Fed.R.Crim.P.4.1by         --
                                 FaccTime             : .
    Date: March 31,2021
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    citvand state:                  F0d Lauderdal
                                                e,Florida                      Jared M.Strauss,U.S.Magi
                                                                                                      strateJudge
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                   AFFIDAV IT IN SU PPO RT O F CRIM IN AL CO M PLM NT

          1,Ryan Dreibelbis,being duly sworn,deposeand state that:

                        IN TR O DU CIO N AND AG ENT BA CK G RO UND

                 1am a SpecialAgentwith the FederalBureau oflnvestigation CTB1'')and have
   served in this capacity since February 20l8.Currently,1am assigned to the V iolent Crim es and
                                          J9

   Fugitive Task Force ofthe FBI's M iam iDivision and have been atthis location since M ay 2019.

   M y dutiesinvolve investigating bank robberies,H obbsA ctrobberies,extortion,kidnappings,and

   otherviolationsoffederallaw . Priorto m oving to the M iam iD ivision,1served asa SpecialAgent

   for the FB1's N ew York D ivision where 1 investigated narcotics traffcking violations.ln m y

   currentcapacity,lhaveassistedintheexecutionofsearchwarrants;interviewedsubjects,victims,
   andcooperatingindividuals;andusedhistoricalcellsiteanalysistolocatephonesofsubjectsand
   victim s.

          2.     l am a ttfederallaw enfqrcem entofficer''w ithin the m eaning ofFederalRule of

   CriminalProcedure41(a)(2)(C),thatisj.agovernmentagentengaged in enforcingthe criminal
   law sand duly authorized by theA ttorney Generalto requesta search warrant.

                 Based on the factssetforth in thisA ffidavit,there isprobable cause to believe that

   PhillipAnthonyJackson (sslackson'')aljdRichardBurke(G$Burke'')committedviolationsofTitle
   18,United StatesCode,Sections1951(a)and2(HobbsActrobbery),and924(c)(1)(A)(ii)and2
   (brandishingafirearm duringacrimeofviolence).
                 ThisAffidavitisbased upon m y personalknow ledge,m y review ofdocum entsand

   other evidence, and m y conversations w ith other 1aw enforcem ent personnel and civilian

   w itnesses.B ecause this Affidavit is being subm itted for the lim ited purpose of establishing

   probable cause, it does not include a11 the facts that l have learned during the course ofm y
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   investigation.Rather,lhave included only the factsthatare suftscientto establish probable cause.

   W here the contents of docum ents and the actions,statem ents,and conversations of others are

   reported herein,they are reported in substanceand in pal't,exceptwhereotherw ise indicated.

                                       PRO BABLE CA USE

          5.     The investigation,as described in detailbelow ,has revealed thatPhillip A nthony

   Jackson(çslackson'')andRichardBurkecommittedmultiplearmedrobberiesinFebruary2021.
                                         February 16,2021

                 On oraboutFebruary 16,2021,two m asked individualscom m itted arm edrobberies

   of the M etro PCS,located at4980 North State Road 7,Tam arac,Florida,and the Autozone,

   located at801S StateRoad 7,Plantation,Florida.Law enforcem entbelievethem asked individuals

   to be Jackson and Burke.Jackson w orç aIl black with a black hooded sw eatshirt and a blue

   backpack during both robberies.Burke wore ahooded sweatshirtw ith a black body,white sleeves,

   and white hood during b0th robberies.

                                             M etropcs

          At approxim ately 7:40 p.m .,Jackson and Burke entered the M etro PCS,located at4980

   N orth State Road 7,Tam arac,Florida.Jackson and B urke initially looked attabletsandphonesfor

   salein thestorebeforeBurkepulled outafsreal'
                                              m and pointed itatan employee(:Victim-1'').
   Jackson subsequently pulled outa differentfirearm and also pointed itatV ictim -l.They directed

   V ictim -l to open the register.A fterV ictim -l com plied,Jackson saw thatVictim -l had lefthis

   G lock 17 handgun nearthe registerand took itin addition to the contents ofthe register.Jackson

   then ordered V ictim -l to open an additipnalregister,prom pting Jackson to take the contents of

   thatregister as well.After observing V ictim -l's H P Spectre laptop under the counter,Jackson

   stolethataswell.AfterJackson asked to seethe safe,V ictim -l led Jackson to theback room where
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   V ictim -l claim ed thathe could notopen one ofthe safes.Upon realizing thatone ofthe safeswas

   already open,Jackson rem oved nine cellphones and placed them into hisblue backpack.ln total,

   Jackson and Burke stole approximately nine hundred seventy-six dollars($976.00)in United
   States currency,nine cellphones,and Victim -l's Glock 17 and laptop before tleeing the scene.

   Victim -l described 170th Jackson and Burke as speaking w ith Jam aican accents. An im age

   depicting Jackson and Burke appearsbelow :




                                              Autozone

          8.     Atapproxim ately 8:37 p.m .,Jackson and Burke arrived atthe Autozone in order

   tocommitanarmedrobbery.Jacksondistractedaclerk(ç1Victim-2'')bytellingVictim-z,whowas
   outside ofthe store,thata coworkerneeded help inside ofthe store.W hen V ictim -z approached

   the door,Jackson grabbed a broom outrpfVictim -z's hand,pulled a flrearm from hispocket,and

   pointed it atV ictim -z's head.V ictim -z recalled Jackson speaking w ith a heavy foreign accent,

   believing itto be H aitian.Burke approached a register,pulled outa black firearm ,and pointed it

   atanotheremployee($$Victim-3'')atthesametimethatJacksonhadluredVictim-z.Burkeordered
   Victim-3 and anotherclerk (6çVictim-4'')totheground,statingthat''we'rehereforthemoney!
   Don'tdo anything stupid!''Burke then reached into the register and took the cash.Jackson and
                                               3
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   Burkethen ordered V ictim -4 to the back ofthe store wherethe safe waslocated and forced him to

   putthem'
          oney from thesafe into thebltiebackpack atgunpoint.Jackson and Burkethen fled the
   store on foot with the m oney and severalcom m ercialitem s,including Prestone Power Steering

   Fluid,LucasHeavy Duty Oil,and Black M agicTire W etSpray.An im age depicting Jackson and

   Burke appears below :




                                         Fpbruary
                                          ;)
                                                  24,2021
                                         :'
                                          .   !
                 On oraboutFebruary 24,.2021,two m asked individualscom m itted arm ed robberies
                                          '(
   ofthe A dvanced Auto Parts,located at2.,804 W .Oakland Park Boulevard,OaklandPark,Florida,
                                          t-!
                                         ..

   and theAm oco,locatedat6900 W AtlahticBoulevard,M argate,Florida,asw ellasthe attem pted
                                          '
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   robbery of the W algreens located at 3099 N State R oad 7, Lauderdale Lakes, Florida. Law

   enforcem entbelieve them asked individualsto be Jackson and Burke.Jackson woreablack hooded

   sw eatshirtand dark pants,w hile carrying a bluebackpack during allthreeincidents.Burke wore a

   black hooded sw eatshirtw ith white cam ouflage on the hood,shoulder,and sleeves,and purple

   glovesforthe Advanced Auto Partsrobbery and the attem pted robbery ofthe W algreens,butw ore

   the sw eatshirtinside outforthe Am oco robbel'y.

                                          AdvancedA uto Parts

           10.    A tapproxim ately 8:36 p.m .,Jackson and Burke entered the Advanced Auto Parts

   inordertocommitanarmedrobbery.Jaçksonwalkedupbehindaclerk(6Victim-5'')andpointed
   a gun atV ictim -s's back.Jackson directed V ictim -s to open the register.Jackson then took the

   m oney outofthe registerand placed itinto the blue backpack.Jackson then directed V ictim -s to

   open thenextregisterand placethe m oney from itinto thebackpack,which V ictim -s did.Jackson

   then directed V ictim -s to the back ofthe store and inquired w hatw asin the t5le cabinet.V ictim -s

   opened the cabinet f0r Jackson,who stole a pack of A dvanced A uto Parts facem asks.Jackson

   ordered Victim -s to give him the pack ofm asks.Burke had a sm allblack handgun w ith a grey or

   silver slide w ith him .Jackson and Burke then tled the store after stealing approxim ately one

   thousandfifty-ninedollarsandthirty-ninecents($1,059.39)in UnitedStatescun-ency.Victim-s
   describedboth subjectsashavingJamaieanaccents.AnimagedepictingJacksonandBurkefrom
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   thisrobbery appearsbelow :




                                              Amoco

                 At approxim ately 9:36 p.m .,Jackson and Burke entered the Am oco in order to

   com m it an arm ed robbery.Jackson w alked to the back ofthe store,brandished a handgun,and

   rackedtheslide.Burkeimmediatelywentbehindthecounteranddemandedaclerk(d$Victim-6'')
                                         :'
   to open the registers.Jackson and Burke subsequently stole the contents ofboth registers.They
                                          :
   tledthestorewithapproximatelysevenhundredtsfty-ninedollarsandeighty-ninecents($759.89)
   and fivepacksofNewpol'
                        tcigarettes.Ap im age depictingJackson and Burkeappearbelow:




   Based on the visible seam on the sweatshirton the left,itappears thatBurke w ore itinside-out.

                                                  6
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                                                 W algreens

                  Atapproximately 10:41p);m .,JacksonandBurke enteredtheW algreensin orderto
                           '
                                          qi
                                           q'.
   Commitan armed robbery.Burkegrabiiçd apack ofHeinekenbeerwhileJackson,who carried
   carryingablackhandgun,approachedtwoclerks(tsvictims-7''andddvictim-8,''respectively),and
   told them notto m ove.Both victim sran to differentsections ofthe store,prom pting Jackson and

   Burke to tlee the store w ithouttaking anything.An im age depicting Jackson and Burke appear

   below :




                  Surveillance footage captured Jackson and Burke entering the driverdoorand rear

   passengersidedoorofa silverBM W 3251(the EGBMW '')in the parking lot.The BM W had
   dam aged black trim above the license plate and a sticker in the low er right corner of the rear

   w indshield.

                                         February 25,2021

                                         Tracking W arrant

                  On or about February 25, 2021, at approxim ately 1;30 a.m ., 1aw enforcem ent

   located the BM W parked atthe Am ble.lnn in Plantation,Florida.W hile surveilling the vehicle,

                                         '
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                                          J
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   deputiesobservedindividualsmatchingthedescriptionsofthesubjectsfrom theearlierrobberies.
   These individuals were laterdetennined to be Jackson,a black female (the ç$BF''),and Burke.
   Jackson and the BF w ere initially seen nearthe BM W .Burke arrived in a blueN issan A ltim a and

   appeared to work on the BM W .Burke then departed the area in the N issan A ltim a.Deputies

   followed the N issan Altim a to the Planation Inn.Based on these observations and the earlier

   surveillance video,deputies obtained a state tracking warrant for the BM W and subsequently

   attached the deviceto thevehicle.

                                               Chevron

                 Atapproxim ately 6:22 p.m .,Jackson and Burke entered the Chevron Gas Station,

   located at1800 N U niversity Drive,Plantation,Florida.Jackson w ore a black hooded sw eatshirt

   and black pantsw ith white gloveson both hands.Burke wore a black,gray,and white cam ouflage

   hooded sw eatshirtwith gray pantsand a white glove on hisrighthand.Burke brandished a sm all

   handgunandpointeditataclerk(((Victim-9'')withhisfingeronthetrigger.Jacksonsubsequently
   took approxim ately eighthundred ninety-six dollars and eighteen cents in United States currency

   ($896.18)andplaceditintoablackbag.SurveillancevideocapturedtheBMW backintoaparking
   spotatthe Chevron priorto the robberysJackson and Burke exiting theBM W im m ediately before

   the robbery,and Jackson and Burke exiting the gas station im m ediately after the robbery before

   leaving in theBM W .A n im age depicting Jackson and Burke appearsbelow :




                                                  8
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                                           AàvancedxutoParts
                  Atapproxim ately 7:22p..
                                         jn.,Jackson and BurkeenteredtheAdvancedAutoParts,
                                                '
                                                ,
                                            '
                                                j

   locatedat7522SouthgateBoulevard,Mo  l'thLauderdale,Florida.lJacksonandBurkeworethe
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                                    ;
                                            )!.
                                              '
   sameclothing asthey did during thetievron robbery (seeParagraph 15).Jackson andBurke
                                       ,
                                            L
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                                                y'
   enteredthestoreandeachputitemsontll'
                                      ecounterasiftheyintendedtopurchasethem.Theclerk
   ($$Victim-l0'')begantousetheregisterwhenJacksoncamearoundthecounterandcockedablack
   sem iautom atic handgun.Jackson directed Victim -lo to open the register without m aking any

   unnecessary m ovem ents.Burke,w ho w as also arm ed w ith a dark handgun,then w alked to the

   front door and looked through the glass before w alking behind the counter as w ell.Another

   employee (dvictim-l1') walked towardsthe registerand Jackson ordered him to the ground,
   Jackson put his foot on V ictim -l1's back and pushed the barrelofhis gun againstthe back of

    Victim -l1'shead beforeordering Victim rloto open thesafeorhew ould shootV ictim -l1.Victim -

    10 w as so territsed thatshe could not open the safe but opened three registers for Jackson and

    Burke.Jackson handed the registerdrawersto Burke,w ho emptied them into an A dvanced Auto

    Partsshopping bag.Jackson and Burketled with approxim ately onethousand tsve hundred dollars

    ($1,500.00)inUnited Statescurrency,aswellasbrakepadsandmultiplecansofrefrigerantand
    airconditioning cleaner.
                  A ftertheA dvanced A uto Pal'tsrobbery,1aw enforcem entshowed V ictim -l0 a still

    im age of the robbers from the Chevron robbery.V ictim -lo positively identitsed them as the

    individuals who had robbed the A dvanced A uto Parts store. Victim -l1 could not m ake an




    1Thereisnovideosurveillancefootageofthisrobbery.
                                                       9
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   identification from the stillim age becauje he w as forced to lie face down atgunpointduring the

   robbery.

                                          focating thefAff
                                                         'lr

           l8.    Data derived from the tracking device did notshow the BM W atthe location of

   eitherrobbery on February 25,2021.How ever,1aw enforcem entlaterdeterm ined thatthe tracker

   m ust have fallen offthe BM W priorto the robberies on thisday.Upon locating the BM W ,1aw

   enforcem entinitiated a traffic stop ofthe vehicle and detained the tw o occupants:Jackson,who

   w as in the driverseat,and BF,who wasin the frontpassengerseat.

                                            BF 'sInterview

                  During a noncustodialinterview ,BF initially stated thatshe had no idea w hy the

   BM W had been stopped and gave a false accountofherwhereaboutson February 24,2021.BF

   then recanted this statem ent,adm itting thatBurke threatened herw ith two firearm s on February

    24,2021.Sherecalled how Burke putthe barrelofa pistolinto herm outh and directed hernotto

    çdsnitch.''BF adm ittedto being in the vehicle with Jackson and Burke during thetw o robberiesand

    attem pted robbery on February 24,2021.BF explained thatJackson picked herup in the BM W

    earlier that day before picking up Burke.During the drive, Jackson and Burke discussed the

   robberiesthatthey had com m itted and theirintention to com m itm orerobberies.W hen BF advised

   thatshe w ould snitch on them ,Burke threatened BF w ith an AK -47 before threatening herw ith a

   handgun.

                  BF stated that she, Jackson,and Burke w ent to the A dvanced Auto Parts (see

   Paragraph16).Jacksonthenstolealicenseplatefrom aparkedvehicleataççtransportationplace''



                                                   10
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   and affixed itto the BM W .2Atthattim e, Jackson and Burke directed BF to getinto the driverseat

   and be the getaway driver.W hen Jackson and Burke exited the BM W ,they each had handguns

   when they entered the store.W hen they ultim ately exited,they yelled $EGo,go,gol''at BF.BF

   stated thatshe struggled to getthe carinto drive and had to sw itch with Jackson beforethey drove

   away from the scene.BF confirm ed thatJackson took a blue backpack into the A dvanced A uto

   Parts,adding that she had held the backpack earlier in the day and knew it had been em pty.

   How ever,when Jackson cam e from the A dvanced Auto Parts,the backpack contained cash and

   rollsofchange in it.

                  A fter the firstrobbely,Burke directed BF to go into severallocations and scout

   them .BF could notrecallthese locationsspecifically butltnew thatshewentinto m ultiple locations

   atBurke's direction.Burke told BF to note how m any people w ere in the store and if he could

   Sshop over''the counter.Jackson and Burke also told BF to note ifany ofthe clerkshad guns.Both

    locationsw ere gas stations.BF recalled Jackson and Burkediscussing Sthitling''whatBF believed

   w as a RaceTrac gas station,butdecided notto ûdhit''itbecause they had (Chit''it before.ln m y

   training and experience,persons involved in robberiesreferto them asSshits.''

                  BF recalled traveling to M argate, Florida. BF recalled Jackson and Burke

   discussing going to differenttow ns for each robbery.BF recalled thatthe nextrobbery w as ata

    gasstation thatstarted w ith an GçAm ''and the end was eithertwo (.0'5oran (:E.''BF w as fam iliar

   w ith the area because BF had lived in M argate.W hen asked ifdtA m oco''@asthe gasstation,BF



   2On oraboutM arch l1,2020,law enforcementinterviewed anem ployeeofPacificCoastRoofing,Inc.Thelicense
   platefoundin theBM W wasregisteredtoaFordFl50belonging toPacificCoastRoofing.Theem ployeeconfirmed
   thatthey hadnoticedtheIicenseplatewasmissihgoffofoneoftheirvehiclesaroundM arch 3,2020,and speculated
   thattheIicenseplatehad beenstolen inIateFebruary.Thetruck wasparked at1539 '
                                                                              NW 65thAvenueinPlantation,
   Florida.

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   confirm ed thatA m oco w as correct.BF,now in the frontpassenger seat,again saw Jackson and

   Burke enterthe A m oco wearing the sam e clothing asthe A dvanced Auto Partsrobbery.

           23.    The three then proceeded to Lauderdale Lakes,Florida.BF recalled Jackson and

   Burketalkingabouthow theywantedsomebeerandgoingtowhatshebelievedtobeaCVS(BF
   incorrectly identifiedtheW algreensasaCVS).BF described thelocationofwhatBF believed
   w asthe CV S,and itis actually the location of a W algreens.BF view ed surveillance video from

   this incident and identified the silverBM W backing into a parking space asthe BM W they had

   been traveling in allevening.BF further identified Jackson and Burke entering the store in the

   sam e clothing from the earlierrobberies.This surveillance video show ed the location isin facta

   W algreens.O nceagain,Jackson and Burke entered the location arm ed,then fled outto the vehicle

    in hasteand departed.Burkeagain said Stgo,go,go,gol''Burkethen said som ething aboutpicking

   up a six pack.Jackson and Burke laughed aboutpeople in the store running.

           24.    After the robberies, BF stated that she, Jackson, and B urke returned to the

   Plantation Inn.Burke lived there w ith his fam ily.Jackson and Burke w orked on the BM W fora

    little w hile before BF and Jackson departed forthe A m ble lnn.Upon arriving atthe Am ble lnn,

   Jackson could notrem ovethekey from theignition oftheBM W .Thisprom pted Jackson to contact

   Burke,w ho cam eto assistin fixing the vehicle.Burke arrived in a blue N issan.

           25.    BF only knew Burkeasd$B.''Law enforcem entdatabasesassociated Burkew ith the

   ow neroftheN issan Altim a seen attheA m ble1nn and Plantation lnn on Februal.
                                                                                y 25,2021.During

   a double-blind lineup,BF identified Burke asthe person she ltnew as GEB''who had perpetrated

   three armed robberieson February 24,2021,with Jackson.




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                                    StatelnentofphilllpJackson
                 W hen read hisM iranda rights,Jackson initially stated thathe was donetalking and

   that he w ould wait for his attorney.Jackson was then inform ed of the chargesthat he w ould be

   facing but was asked no questions.A s interrogators were exiting the room ,Jackson called the

   investigators back into the room ,advising thathe w ould tellthem everything.Jackson confinned

   thathe was notbeing forced orcoerced to restartthe interrogation.Afteragain advising Jackson

   ofhisM iranda rights,he w aived those rightsand agreed to speak with law enforcem ent.

          27.    Jackson told interrogatorsthathe needed m oney to feed him selfand to care forhis

   ailing m other.Jackson repeatedly stated thatBF was innocent,and notinvolved,butw ould not

   discussspecifically whatBF wasnotinvolved in.W hen asked w hatJackson would do ifthe clerks

   from the recent store robberies were in frontofhim ,Jackson stated he would apologize to them .

   W hen asked speciGcally about whathe would say to the clerk from the A dvanced A uto Parts

   robbely on February 25,202 1,Jackson said he would apologize form aking her feellike herlife

    did notbelong to her.Jackson was laterquestioned aboutthe location ofthe handgun,laptop and

    cellphonestaken in the M etro PCS robbery.Jackson said he believed the handgun waslocated in

    the BM W ,butthatthey had thrown outthe laptop and cellphones.

                  Jackson spoke English w ith a Jam aican accent.

                                         February 26,2021

                  On the m orning ofFebruary 26,2021,law enforcem entarrested Burke pursuantto

    a state arrestw arrantforA rm ed Robbery.Law enforcem entadvised Burke ofhisM iranda rights,

    which he waived.During the post-M iranda interview,Burke adm itted thathe had been in the

    BM W on February24,2021,andFebruary25,2021,butonly becauseJackson gavehim arideto


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   pick up his tools.Burke also adm itted to touching tw o firearm s that were in the BM W .Burke

   explicitly denied everw earing a cam outlage-patterned sw eatshirt.

           30.    Burke stated he w as in the BM W w ith Jackson and BF on February 25,2021,and

   rem ained in the vehiclew hile theA dvanced Auto Partsrobbery took place.Burke initially claim ed

   thatJackson and BF had entered the location and m usthave perpetrated the robbery.Interrogators

   pointed outthatBF was approxim ately 5'6''and a heavysetfem ale,w hile the victim s described

   the other robber as a 6'1''thin-build m ale.Burke then changed his story and stated there was a
    1

   third m ale in the BM W w ith Jackson,Burke,and BF.Burke claim ed thatthe unknow n m ale had

   entered the A dvanced Auto Pal'tsw ith Jackson.Burke furtherstated thatJackson had two gunson

   his person w hen he entered theA dvanced A uto Parts.

                  lnvestigators broughtJackson from a holding cellto the room where Burke w as

   being interrogated and asked him to repeathis story ofw hathad occurred atthe A dvanced A uto

    Pal'ts on February 25,2021.Jackson stated,ç'w e w entin that store.''Burke responded,içnobody

   w entin no store.''

           32.    Burke spoke English w ith aJam aican accent.Burke and Jackson also spoketo each

    otherin Jam aican Patois.

                                            M arch 2,2021

                  M etro PCS security inform ed 1aw enforcem entthatone ofthephonesstolen during

   the February 16,2021,robbery had been activated.On oraboutM arch 2,2021,law enforcem ent

    interviewedtheindividualwho activatedthephone(theGGBuyer'').TheBuyerstatedthathebought
    the phone from a person near the intersection of Oakland Park Boulevard and 56th A venue in

   Lauderhill,Florida.TheBuyerwasshow n asix-person photographic lineup and identifed Jackson

    astheperson who had sold him the stolen phone.
                                                  14
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                                            M arch 3,2021

                                    State Search Warranton f;f
                                                             ff'
                                                               F

          34.     On M arch 3,2021,1aw enforcem entexecuted a state search w arranton the BM W .

   The search w arrantresulted in the seizure ofthe follow ing significantitem s'
                                                                                .

          *       A Blue JansportB ackpack m atching descriptions and surveillance video
                  from the above-described robberies;
          @       Approximately $1,215.00 in United Statescurrency;
                  N ine-m illim eteram m unition;
                  The Glock 17 handgun taken in the M etro PCS robbery;
                  A black and silver Taurus nine-m illim eter handgun m atching the
                  description of the handgun from the above-described robberies from
                  February 16,2021- February 25,2021;
                  A black N ike Elite sw eatshirt with black reflective patterning on the
                  shouldersand arm s;
          @       A black,gray,and white hooded sweatshirtw ith a cam outlage pattern on
                  the arm sand hood;
          @       Latex style gloves;
                  Face m asks m atching the description ofthe m asks taken in the A dvanced
                  Auto Partsrobbery on February 24,2021;
          @       Brake pads and refrigeranttaken during the robbel'
                                                                   y ofthe A dvanced Auto
                  Partson February 25,2021;
          *       Lucasheavy duty oiltaken during the robbery oftheA utozoneon February
                   16 2021;
                  Approxim ately $20.00 in changewrapped in coin wrappers;and
          @       Florida license plate GLW S9

                                        Interview oflackson'sFiancee
                  On or about M arch 3,2021,law enforcem ent interviewed ç$OS''#who identified

   herself as Jackson's fiancée.O S stated that she purchased the Taurus handgun recovered in the

   BM W .On the receiptfor the purchase,som eone had written çQ/3/21''in blue ink.Iknow,based

   on m y training and experience,thatthe state of Florida requires a waiting period for handgun

   purchases.lbelieve($2/3/21''meanttheTaurushandgunwouldbeavailableforpickuponFebruary

   3,2021.OS also stated thatJackson keptlatex glovesm atching the description ofthe glovesworn
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      in the robbmies in tbe rcsidelAcc butclaim ed thathe worethem w lwn heworked on cars
                                                                                             .   During a
     cousentsearch ofOS'phone; law enforcem entobsenred an exchange on W h
                                                                              atsapp between her
     and Jackson in w hich Jackson advisod OS that 1aw enforcem'
                                   .                            entwas watching tl
                                                                                   le BM W and
     wanted OS to com c picltup thtBM W from the Am bieTnn. OS confirm cd thatshe did notpick up

     theBM W asreqttested.

                                           C ONCLUSION
            Based upon the informatiou provided above your Affiant respectfully stlbm its that
                                                     ,

     Probable causc existsto believc thatJackson and Burke violate'd Titlc 18
                                                                              ,    United States Code,
     Section 1951(a)(HobbsActrobbery)and924(c)(1j(A)(brandishingaflrearm duringacrimeof
                                                   ,



     violence).
     FURTHER Y O UR AFFIA NT SAYETH NA UG H T.

                                                       Respectfully subm itlt t,
                                                                   Z
                                                                       .             ...*

                                                       RYa17''reibelbis,Specia gent
                                                       FederalBureau ofImvestigation
    Atlested to by theapplicantin accordancew ith therequirem entsofFed. R.Crim .P.4.1
    b
     y Facf'ri e,on this 31st day of March             -1
                                                          202),atFortLauderdale,Florida.
                                A> -
    j,. . . .t7M .SmIIRAU SS              -
        I'ED STATES M AGISTRATE JU D GE
